 8:13-cr-00436-LSC-SMB        Doc # 46     Filed: 07/01/14     Page 1 of 2 - Page ID # 105




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:13CR436
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
GRAINGER BROWNE,                              )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report (“PSR”), and

the Defendant's motion requesting the PSR be amended (Filing No. 45), along with an e-

mail to chambers providing copies of supporting documentation. The government adopted

the PSR (Filing No. 44.) See Order on Sentencing Schedule, ¶ 6. The Court advises the

parties that these Tentative Findings are issued with the understanding that, pursuant to

United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1. The Defendant’s Motion to Direct Probation to Amend the Revised Presentence

Investigation Report (Filing No. 45) will be addressed at the sentencing hearing;

       2.     The Court intends to adopt the PSR in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary
 8:13-cr-00436-LSC-SMB        Doc # 46     Filed: 07/01/14   Page 2 of 2 - Page ID # 106




hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 1st day of July, 2014.

                                           BY THE COURT:


                                           s/Laurie Smith Camp
                                           Chief United States District Judge




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